             Case 2:05-cr-00542-GEB Document 223 Filed 01/07/11 Page 1 of 1


 1   Timothy E. Warriner (SB#166128)
     Attorney at Law
 2   813 6th St., Suite 450
     Sacramento, CA 95814
 3   (916) 443-7141
 4
     Attorney for Defendant
 5   THANG QUOC BUI
 6
                              IN THE UNITED STATES DISTRICT COURT
 7
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9   UNITED STATES OF AMERICA,           )               No. CR S 05 0542 GEB
                                         )
10               Plaintiff,              )               STIPULATION AND ORDER
                                         )               MODIFYING CONDITION OF
11         v.                            )               PRETRIAL RELEASE
                                         )
12   THANG QUOC BUI,                     )
                                         )
13               Defendant.              )
     ____________________________________)
14
            The parties hereby stipulate that the pretrial release conditions of defendant THANG
15
     QUOC BUI be modified to add the following condition:
16
            Defendant shall participate in a program of medical or psychiatric treatment, including
17
            treatment for drug or alcohol dependency, as approved by the pretrial services officer.
18
19
     Dated: January 7, 2011               /s/ Timothy E. Warriner, Attorney for defendant, Thang
20
                                          Bui
21
     Dated: January 7, 2011               /s/ Matthew Stegman, Assistant U.S. Attorney
22
23
     IT IS SO ORDERED.
24
     Dated: January 7, 2011.
25
26
27
28
